     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 1 of 18 Page ID #:1




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 7                           UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
     NICKOLAS WILDSTAR,            ) Case No.
10                                 )
                                     COMPLAINT FOR DAMAGES FOR:
          Plaintiff,               )
11
                                   )   1. Violation Of Fourth Amendment -
12        vs.                      )       Unlawful Seizure Of Person;
13                                 )   2. Violation Of First Amendment -
     CITY OF FULLERTON; ROBERT     )       Violation Of Freedom Of Speech;
14
     BOTZHEIM; DAVID BECERRA; and )    3. Violation of Fourth and Fourteenth
15   DOES 1 through 10, inclusive, )       Amendments – Malicious
                                   )       Prosecution;
16
         Defendants.               )   4. Violation of Fourteenth Amendment
17                                 )       – Equal Protection;
18
                                   )   5. Municipal Liability - Failure To
                                   )       Properly Train And For Failure To
19                                 )       Properly Hire / Fire / Discipline;
20                                 )   6. Municipal Liability –
                                   )       Unconstitutional Official Policy,
21
                                   )       Practice, Or Custom;
22

23                                              JURY TRIAL DEMANDED
24

25
           COMES NOW Plaintiff Nickolas Wildstar and shows this Honorable Court the

26   following:
27

28


                                 COMPLAINT FOR DAMAGES
                                            1
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 2 of 18 Page ID #:2




 1
                                JURISDICTIONAL ALLEGATIONS
 2            1.    As this action is brought under 42 U.S.C. § 1983, this court has jurisdiction
 3
     over this case under its federal question jurisdiction pursuant to 28 U.S.C. § 1331.
 4

 5            2.    As the incidents complained of in this action occurred in the City of
 6
     Fullerton, State of California, within the territorial jurisdiction of this court, venue
 7

 8   properly lies in this court pursuant to 28 U.S.C. § 1391(b)(2).
 9
                                    GENERAL ALLEGATIONS
10
              3.    Plaintiff Nickolas Wildstar, hereinafter referred to as “WILDSTAR” or
11

12   “Plaintiff WILDSTAR”, is a natural person, who, at all times complained of in this
13
     action, resided in the County of Orange, State of California.
14

15            4.    Defendant City of Fullerton, hereinafter also referred to as “CITY”, is a
16
     municipal entity located in the State of California; within the territorial jurisdiction of this
17

18
     court.

19            5. Defendant Robert Botzheim, hereinafter also referred to as “BOTZHEIM”, is,
20
     and at all times complained of herein, was, a California State University, Fullerton Police
21

22   Department Officer, acting as an individual person under the color of state law, in his
23
     individual capacity and was acting in the course of and within the scope of his
24

25   employment with the California State University, Fullerton Police Department.
26
              6. Defendant David Becerra, hereinafter also referred to as “BECERRA”, is, and
27
     at all times complained of herein, was, a City of Fullerton Police Department Officer,
28


                                    COMPLAINT FOR DAMAGES
                                               2
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 3 of 18 Page ID #:3




 1
     acting as an individual person under the color of state law, in his individual capacity and
 2   was acting in the course of and within the scope of his employment with defendant CITY.
 3
           7.     Defendants DOES 1 through 6, inclusive, are sworn peace officers and / or
 4

 5   police officers and/or investigators and/or Special Officers and/or a dispatchers and/or
 6
     some other public officer, public official or employee of defendant CITY and/or
 7

 8   otherwise employed by the Fullerton Police Department and/or California State
 9
     University, Fullerton Police, who in some way committed some or all of the tortious
10
     actions (and constitutional violations) complained of in this action, and/or are otherwise
11

12   responsible for and liable to plaintiff for the acts complained of in this action, whose
13
     identities are, and remain unknown to plaintiff, who will amend his complaint to add and
14

15   to show the actual names of said DOE defendants when ascertained by plaintiff.
16
           8.     At all times complained of herein, DOES 1 through 6, inclusive, were acting
17

18
     as individual persons acting under the color of state law, pursuant to their authority as

19   sworn peace officers and/or police officers and/or Special Officers and/or Supervisors
20
     (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.) and/or dispatchers, employed
21

22   by the Fullerton Police Department and/or California State University, Fullerton Police,
23
     and were acting in the course of and within the scope of their employment with defendant
24

25   CITY.
26
           9.     Defendants DOES 7 through 10, inclusive, are sworn peace officers and/or
27
     the Chief and/or Assistant Chiefs and/or Commanders and/or Captains and/or Lieutenants
28


                                  COMPLAINT FOR DAMAGES
                                             3
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 4 of 18 Page ID #:4




 1
     and/or Sergeants and/or other Supervisory personnel and/or policy making and/or final
 2   policy making officials, employed by the Fullerton Police Department and/or defendant
 3
     City of Fullerton and/or California State University, Fullerton Police, who are in some
 4

 5   substantial way liable and responsible for, or otherwise proximately caused and/or
 6
     contributed to the occurrences complained of by plaintiff in this action, such as via
 7

 8   supervisory liability (i.e. failure to properly supervise, improperly directing subordinate
 9
     officers, approving actions of subordinate officers), via bystander liability (failing to
10
     intervene in and stop unlawful actions of their subordinates and/or other officers), and
11

12   such as by creating and/or causing the creation of and/or contributing to the creation of
13
     the policies and/or practices and/or customs and/or usages of the Fullerton Police
14

15   Department and/or California State University, Fullerton Police for, inter alia,: 1) for
16
     unlawfully seizing persons; 2) for violating persons’ right to freedom of speech; and 3)
17

18
     maliciously prosecuting persons.

19         10.    At all times complained of herein, DOES 7 through 10, inclusive, were
20
     acting as individual persons acting under the color of state law, pursuant to their authority
21

22   as the Chief and/or the Assistant Chief and/or Captains and/or Lieutenants and/or
23
     Sergeants and/or other Supervisory personnel and/or policy making and/or final policy
24

25   making officials with the Fullerton Police Department and/or California State University,
26
     Fullerton Police, and/or some other public official(s) with defendant CITY, and were
27
     acting in the course of and within the scope of their employment with defendant CITY.
28


                                   COMPLAINT FOR DAMAGES
                                              4
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 5 of 18 Page ID #:5




 1
            11.   At all times complained of herein, defendants DOES 7 through 10, inclusive,
 2   were acting as individual persons under the color of state law; under and pursuant to their
 3
     status and authority as peace officers and/or Supervisory peace officers (as described
 4

 5   herein, above and below), and/or policy making peace officers, with the Fullerton Police
 6
     Department and/or California State University, Fullerton Police and otherwise with
 7

 8   defendant CITY1.
 9
            12.   Plaintiff is presently unaware of the identities of DOES 1 through 10,
10
     inclusive, and will amend his complaint to add and to show the actual names of said DOE
11

12   defendants, when ascertained by plaintiff.
13
            13.   In addition to the above and foregoing, Defendants BOTZHEIM, BECERRA
14

15   and DOES 1 through 6, inclusive, acted pursuant to a conspiracy, agreement and
16
     understanding and common plan and scheme to deprive the plaintiff of his federal
17

18
     Constitutional and statutory rights, and California constitutional and statutory state law

19   rights, as complained of in this action.
20
            14.   Defendants BOTZHEIM, BECERRA and DOES 1 through 6, inclusive,
21

22   acted in joint and concerted action to deprive the plaintiff of those rights as complained
23
     of herein; all in violation of 42 U.S.C. § 1983, and otherwise in violation of United States
24

25   (Constitutional and statutory) law and California (Constitutional and statutory) state law.
26

27

28
     1
         Such as a CITY executive officer.
                                  COMPLAINT FOR DAMAGES
                                             5
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 6 of 18 Page ID #:6




 1
           15.    Said conspiracy / agreement / understanding / plan / scheme / joint action /
 2   concerted action, above-referenced, was a proximate cause of the violation of the
 3
     plaintiff’s federal and state constitutional and statutory rights, as complained of herein.
 4

 5                             FIRST CAUSE OF ACTION
 6
                            VIOLATION OF 42 U.S.C. § 1983
                         Violation of Fourth Amendment Rights –
 7                      Unlawful / Unreasonable Seizure of Person
 8     (Against Defendants BOTZHEIM, BECERRA and DOES 1 through 6, inclusive)
 9
           16.    Plaintiff hereby realleges and incorporates by reference the allegations set
10
     forth in paragraphs 1 through 15, inclusive, above, as if set forth in full herein.
11

12         17.    At approximately 0343 hours, on January 16, 2017, defendants were
13
     apparently investigating a commercial burglary in the city of Fullerton, California.
14

15         18.    Defendant BOTZHEIM alleges that a security guard informed him that one
16
     male was arrested and that three black males ran from the location.
17

18
           19.    Defendant BOTZHEIM alleges that a witness told him that a black male was

19   trying to get into the witness’ car. The witness said the black male was wearing a tan and
20
     white striped shirt, dark hoodie and dark pants. The suspect was also described as being
21

22   5’10’ and 150 pounds.
23
           20.    At approximately 0500 hours, BOTZHEIM claims to have noticed
24

25   WILDSTAR walking on the sidewalk.
26
           21.    WILDSTAR is a black male. At the time, he was wearing light colored
27
     pants, a jacket and a white checkered shirt. He also had a lunch box and umbrella with
28


                                   COMPLAINT FOR DAMAGES
                                              6
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 7 of 18 Page ID #:7




 1
     him. WILDSTAR is 6’4” and 220 pounds. The only characteristic of WILDSTAR that
 2   matched the description of the suspect was the fact that he is a black male.
 3
           22.    At the time, WILDSTAR was walking to work.
 4

 5         23.    BOTZHEIM pulled over and detained WILDSTAR to allegedly investigate
 6
     the commercial burglary.
 7

 8         24.    Defendant BECERRA arrived at the location at the same time as
 9
     BOTZHEIM and assisted in the detention of WILDSTAR.WILDSTAR began video
10
     recording the encounter with his cell phone.
11

12         25.    Defendant BOTZHEIM told WILDSTAR that he matched the description of
13
     a suspect.
14

15         26.    WILDSTAR asked, “I match the description? Why because I’m black?”
16
           27.    Defendant BECERRA then responded, “Yes, three of them robbed a store.”
17

18
           28.    Defendants BOTZHEIM, BECERRA and DOES 1 through 6, inclusive, told

19   WILDSTAR to turn around. WILDSTAR complied and turned around.
20
           29.    Defendants BOTZHEIM, BEERRA and DOES 1 through 6, inclusive, then
21

22   handcuffed WILDSTAR without incident.
23
           30.    WILDSTAR did not physically resist, obstruct or delay the officers during
24

25   his detention or while they were handcuffing him.
26
           31.    WILDSTAR repeatedly told the defendants that they had no right to detain
27
     him and further criticized and protested the defendants’ unlawful conduct.
28


                                  COMPLAINT FOR DAMAGES
                                             7
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 8 of 18 Page ID #:8




 1
           32.     Once WILDSTAR was handcuffed, BOTZHEIM asked WILDSTAR, “Can I
 2   talk to you civilly?”
 3
           33.     WILDSTAR responded, “I don’t want to speak with you at all. There is no
 4

 5   civility in your actions.”
 6
           34.     WILDSTAR then stated to BOTZHEIM: “I’m gonna sue you.”
 7

 8         35.     In response, BOTZHEIM stated, “If you’re gonna sue me, I might as well
 9
     book you, right?”
10
           36.     WILDSTAR was then arrested for allegedly violating Penal Code §
11

12   148(a)(1) (resisting, delaying or obstruction a peace officer) and Penal Code § 459
13
     (Burglary.)
14

15         37.     WILDSTAR was then booked at the CSUF Police station where he was
16
     further humiliated during a live line-up in front of the burglary victims.
17

18
           38.     WILDSTAR was of course not identified as one of the suspects.

19         39.     WILDSTAR was photographed, cited and released for allegedly violating
20
     Penal Code § 148(a)(1.)
21

22         40.     BOTZHEIM then authored a police report with a number of
23
     misrepresentations. BOTZHEIM stated in his police report that WILDSTAR was trying
24

25   to shout over everything BOTZHEIM said; that WILDSTAR was being uncooperative;
26
     and that WILDSTAR “just kept yelling at us.”
27

28


                                  COMPLAINT FOR DAMAGES
                                             8
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 9 of 18 Page ID #:9




 1
           41.   BOTZHEIM forwarded his report to the Orange County District Attorney’s
 2   Office. As a result of the misrepresentations in BOTZHEIM’s report, the Orange County
 3
     District Attorney’s Office filed a criminal complaint against WILDSTAR for allegedly
 4

 5   violating Penal Code § 148(a)(1.)
 6
           42.   Well over a year after his arrest, an Orange County jury ultimately found
 7

 8   WILDSTAR not guilty of violating Penal Code § 148(a)(1.)
 9
           43.   As complained of herein above, none of the defendants to this action had a
10
     warrant for WILDSTAR’s arrest, nor probable cause to believe that WILDSTAR had
11

12   committed a crime, nor reasonable suspicion that WILDSTAR was a danger to anyone or
13
     anything, nor even a reasonable suspicion of criminality afoot by WILDSTAR.
14

15         44.   Accordingly, the seizure of WILDSTAR by Defendants BOTZHEIM,
16
     BECERRA and DOES 1 through 6, inclusive, by use of force constituted an unlawful and
17

18
     unreasonable seizure of WILDSTAR, in violation of his rights under the Fourth

19   Amendment to the United States Constitution.
20
           45.    As a direct and proximate result of the actions of Defendants BOTZHEIM,
21

22   BECERRA and DOES 1 through 6, inclusive, as complained of herein, WILDSTAR: 1)
23
     was substantially physically, mentally and emotionally injured; 2) incurred medical and
24

25   psychological costs, bills and expenses and 3) incurred other special and general damages
26
     and expenses in an amount to be proven at trial which is in excess of $3,000,000.00.
27

28


                                 COMPLAINT FOR DAMAGES
                                            9
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 10 of 18 Page ID #:10




 1
            46.    The actions by said defendants were committed maliciously, oppressively
 2    and in reckless disregard of WILDSTAR’s constitutional rights, sufficient for an award
 3
      of punitive / exemplary damages against all defendants and each of them, save for
 4

 5    Defendant CITY, in an amount to be proven at trial which is in excess of $2,000,000.00.
 6
                                SECOND CAUSE OF ACTION
 7                            VIOLATION OF 42 U.S.C. § 1983
 8                Violation of First Amendment Rights - Freedom of Speech
        (Against Defendants BOTZHEIM, BECERRA and DOES 1 through 6, inclusive)
 9

10          47.    Plaintiff hereby realleges and incorporates by reference the allegations set
11
      forth in paragraphs 1 through 46, inclusive, above, as if set forth in full herein.
12

13          48.    A substantial or motivating factor in the decisions of the various defendants
14
      to take the adverse actions against plaintiff as complained of in this action, was
15
      WILDSTAR’s exercise of his right to freedom of speech under the First Amendment to
16

17    the United States Constitution, when he verbally criticized the defendants and protested
18
      their actions. Furthermore, Defendant BOTZHEIM arrested WILDSTAR after
19

20    WILDSTAR said that he was going to sue the defendants. BOTZHEIM responded by
21
      arresting WILDSTAR and stating, “If you’re gonna sue me, I might as well book you,
22

23
      right?”

24          49.    BOTZHEIM also wanted to prevent WILDSTAR’s ability to sue (seek
25
      redress) the defendants by arresting and maliciously prosecuting WILDSTAR for Penal
26

27    Code § 148(a)(1.)
28


                                    COMPLAINT FOR DAMAGES
                                              10
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 11 of 18 Page ID #:11




 1
            50.    Moreover, said defendants would not have taken said adverse actions against
 2    WILDSTAR, had WILDSTAR not exercised his right to freedom of speech under the
 3
      First Amendment to the United States Constitution.
 4

 5          51.    As a direct and proximate result of said adverse actions taken against said
 6
      plaintiff by said defendants as described above, plaintiff suffered serious bodily injury,
 7

 8    severe mental and emotional distress, medical and psychological costs and expenses, lost
 9
      wages / profits, attorney’s fees and other special damages; all in an amount to be proven
10
      at trial, in excess of $3,000,000.00.
11

12          52.    The actions of defendants and each of them, as complained of herein, were
13
      done maliciously and in reckless disregard of plaintiff’s constitutional rights sufficient for
14

15    an award of punitive / exemplary damages against said defendants, save defendant CITY,
16
      in an amount to be proven at trial, in excess of $2,000,000.00.
17

18
                                   THIRD CAUSE OF ACTION
                                  MALICIOUS PROSECUTION
19                              VIOLATION OF 42 U.S.C. § 1983
20                    Violation Of Fourth And Fourteenth Amendment Right
                      (Against BOTZHEIM and DOES 1 through 6, inclusive)
21

22          53.    Plaintiff hereby realleges and incorporates by reference the allegations set
23
      forth in paragraphs 1 through 52, inclusive, above, as if set forth in full herein.
24

25          54.    As shown above, BOTZHEIM and DOES 1 through 6, inclusive, falsely
26
      arrested plaintiff WILDSTAR on the bogus charge of violation of Cal. Penal Code §
27
      148(a)(1), something said defendants knew was not true.
28


                                    COMPLAINT FOR DAMAGES
                                              11
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 12 of 18 Page ID #:12




 1
            55.    Also as shown above, BOTZHEIM and DOES 1 through 6, inclusive, knew
 2    that plaintiff WILDSTAR had not committed any violations of Cal. Penal Code §
 3
      148(a)(1) (resisting / obstructing / delaying a peace officer engaged in the lawful
 4

 5    performance of his duties), or any other law, and, nonetheless, authored bogus police
 6
      reports and accused plaintiff WILDSTAR of various acts to show that plaintiff had
 7

 8    violated Cal. Penal Code § 148(a)(1.)
 9
            56.    Said police reports authored by BOTZHEIM and DOES 1 through 6,
10
      inclusive, also contained material misrepresentations of facts and material omission of
11

12    facts upon which the Orange County District Attorney’s Office relied, in large part, in
13
      deciding to file and to maintain the criminal prosecution of the plaintiff WILDSTAR.
14

15          57.    Moreover, said criminal action against WILDSTAR was terminated in his
16
      favor, in a manner inconsistent with guilt, when an Orange County jury found
17

18
      WILDSTAR “not guilty.”

19          58.    Moreover, as shown above, none of said defendant officers had probable
20
      cause to believe that WILDSTAR committed a crime.
21

22          59.    Moreover, said criminal action was procured by said defendants with malice.
23
            60.    Moreover, as California does not provide for any remedy for an aggrieved
24

25    malicious prosecution victim to sue a public employee for the filing and/or procurement
26
      of a bogus criminal action, pursuant to Parratt v. Taylor, 451 U.S. 527 (1981), the actions
27

28


                                   COMPLAINT FOR DAMAGES
                                             12
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 13 of 18 Page ID #:13




 1
      of said defendants constituted a violation of the Fourth, Ninth and Fourteenth
 2    Amendments to the United States Constitution.
 3
            61.    As a direct and proximate result of the actions of BOTZHEIM and DOES 1
 4

 5    through 6, inclusive, as complained of herein, Plaintiff: 1) was substantially physically,
 6
      mentally and emotionally injured, 2) incurred medical and psychological costs, bills and
 7

 8    expenses, 3) lost the use and possession of his real and personal property and 4) incurred
 9
      other special and general damages and expenses, including attorney’s fees and associated
10
      costs; all in an amount to be proven at trial which is in excess of $3,000.000.00.
11

12          62.    The actions of defendants BOTZHEIM and DOES 1 through 6, inclusive, as
13
      complained of herein, were committed maliciously, oppressively and/or in reckless
14

15    disregard of plaintiff’s constitutional rights, sufficient for an award of punitive
16
      exemplary damages against all defendants, save for defendant CITY, in an amount to be
17

18
      proven at trial which is in excess of $2,000,000.00.

19                             FOURTH CAUSE OF ACTION
20                            VIOLATION OF 42 U.S.C. § 1983
                         Violation of Fourteenth Amendment Rights
21
                             Right to Equal Protection of the Law
22      (Against Defendants BOTZHEIM, BECERRA and DOES 1 through 6, inclusive)
23
            63.    Plaintiff hereby realleges and incorporates by reference the allegations set
24

25    forth in paragraphs 1 through 62, inclusive, above, as if set forth in full herein.
26
            64.    WILDSTAR is a black male, and the actions of said defendants committed
27
      against WILDSTAR were done by defendants because of WILDSTAR’s race; in
28


                                    COMPLAINT FOR DAMAGES
                                              13
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 14 of 18 Page ID #:14




 1
      violation of WILDSTAR’s right to equal protection of the law under the Fourteenth
 2    Amendment to the United States Constitution.
 3
            65.    WILDSTAR was detained and ultimately arrested because he is black.
 4

 5    WILDSTAR did not fit the description of the suspects in any other way.
 6
            66.    Defendants’ conduct was done intentionally and was done in a manner that
 7

 8    constituted a deliberate indifference to and reckless disregard of WILDSTAR’s
 9
      Fourteenth Amendment right to equal protection; outrageous conduct that is shocking to
10
      the conscience.
11

12          67.    As a direct and proximate result of said adverse actions taken against said
13
      plaintiff by said defendants as described above, plaintiff suffered serious bodily injury,
14

15    severe mental and emotional distress, medical and psychological costs and expenses, lost
16
      wages / profits, attorney’s fees and other special damages; all in an amount to be proven
17

18
      at trial, in excess of $3,000,000.00.

19          68.    The actions of defendants and each of them, as complained of herein, were
20
      done maliciously and in reckless disregard of plaintiff’s constitutional rights sufficient for
21

22    an award of punitive / exemplary damages against said defendants, save defendant CITY,
23
      in an amount to be proven at trial, in excess of $2,000,000.00.
24

25                                FIFTH CAUSE OF ACTION
                               VIOLATION OF 42 U.S.C. § 1983
26
                         Municipal Liability - Failure To Properly Train
27                      And For Failure To Properly Hire / Fire / Discipline
                                    (Against Defendant CITY)
28


                                   COMPLAINT FOR DAMAGES
                                             14
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 15 of 18 Page ID #:15




 1
            69.    Plaintiff hereby realleges and incorporates by reference the allegations set
 2    forth in paragraphs 1 through 68, inclusive, above, as if set forth in full herein.
 3
            70.    As complained of herein above, the acts of Defendant BECERRA and
 4

 5    DOES 1 through 6, deprived WILDSTAR of his rights under the laws of the United
 6
      States and The United States Constitution.
 7

 8          71.    The training policies of CITY were not adequate to train its police officer
 9
      employees to properly and lawfully handle situations similar to the one they were
10
      presented with when they confronted WILDSTAR. CITY failed to adequately train their
11

12    officers that it is not a crime to video record law enforcement; that it is not a crime to
13
      refuse to speak with law enforcement; and that it is not a crime to protest law
14

15    enforcement or be critical of law enforcement. CITY failed to properly train its officers
16
      on the conduct that violates Penal Code § 148(a)(1.)
17

18
            72.    CITY was deliberately indifferent to the obvious consequences of its

19    failure to train its police officer employees adequately.
20
            73.    The failure of CITY to provide adequate training caused the deprivation of
21

22    WILDSTAR’s rights by Defendants BECERRA and DOES 1 through 6, inclusive.
23
            74.    CITY’s failure to train is closely related to the deprivation of WILDSTAR’s
24

25    rights as to be the moving force that ultimately caused WILDSTAR’s injuries.
26
            75.    As a direct and proximate result of the actions of defendants, and each of
27
      them, as complained of herein, Plaintiff WILDSTAR: 1) was substantially physically,
28


                                    COMPLAINT FOR DAMAGES
                                              15
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 16 of 18 Page ID #:16




 1
      mentally and emotionally injured; 2) incurred medical and psychological costs, bills
 2    and expenses; 3) and incurred other special and general damages, including attorney’s
 3
      fees, investigator fees and associated litigation costs and expenses; all in an amount to
 4

 5    be proven at trial in excess of $3,000,000.00.
 6
                                  SIXTH CAUSE OF ACTION
 7                            [VIOLATION OF 42 U.S.C. § 1983]
 8         Municipal Liability – Unconstitutional Official Policy, Practice, Or Custom
                                   (Against Defendant CITY)
 9

10          76.    Plaintiff hereby realleges and incorporates by reference the allegations set
11
      forth in paragraphs 1 through 75 inclusive, above, as if set forth in full herein.
12

13          77.    As shown above, the actions of Defendant BECERRA and DOES 1 through
14
      6, inclusive, deprived the plaintiff of his particular rights under the United States
15
      Constitution and under the California Constitution, as described above.
16

17          78.    At all times complained of herein, Defendants BECERRA and DOES 1
18
      through 6, inclusive, were acting pursuant to the policies, customs, usages and practices
19

20    of the Fullerton Police Department / defendant CITY: 1) for unlawfully seizing
21
      (detaining and arresting) persons; 2) for interfering with persons’ and/or otherwise
22

23
      violating persons’ constitutionally protected right to free speech; 3) for fabricating /

24    destroying / concealing / altering evidence in criminal and civil actions, and for otherwise
25
      “framing” persons in criminal actions, in order to falsely and maliciously, oppressively
26

27    convict innocent persons, to protect them and other police officers and supervisory
28
      personnel from civil, administrative and criminal liability; 4) for covering-up unlawful
                                    COMPLAINT FOR DAMAGES
                                              16
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 17 of 18 Page ID #:17




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      and tortious conduct by Fullerton Police Department personnel and were a proximate
 2    cause of the very same California state law, and federal and state constitutional violations
 3
      complained of below by the plaintiff in this action.
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 5           79.    Said actions of said defendants were done by them under the color of state
 6
      law.
 7

 8           80.    As a proximate result of said defendants acting pursuant to said policies,
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      customs, usages and practices of Defendant CITY, above-described, said defendants
10
      violated Plaintiff’s constitutional rights, above-described.
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12           81.   As a direct and proximate result of the actions of defendants CITY, as
13
      complained of herein, Plaintiff: 1) was substantially physically, mentally and emotionally
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15    injured, and great physical, mental and emotional pain, suffering and distress; 2) incurred
16
      medical and psychological costs, bills and expenses, 3) incurred lost profits and wages,
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18
      and 4) incurred other special and general damages and expenses in an amount to be

19    proven at trial, which is in excess of $3,000,000.00.
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             WHEREFORE, plaintiff prays for judgment as follows:
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22                 a) For a judgment against all defendants for compensatory damages in an
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                      amount in excess of $3,000,000.00;
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25                 b) For a judgment against all defendants, save defendant CITY, for punitive
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                      damages in an amount in excess of $2,000,000.00;
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                   c) For an award of reasonable attorney’s fees and costs;
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                                   COMPLAINT FOR DAMAGES
                                             17
     Case 8:18-cv-01486-JVS-KES Document 1 Filed 08/21/18 Page 18 of 18 Page ID #:18




 1
                  d) For a trial by jury; and
 2                e) For such other and further relief as this honorable court deems just and
 3
                     equitable.
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 5                                              __/S/ Gregory Peacock____________
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                                                    GREGORY PEACOCK

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                                  COMPLAINT FOR DAMAGES
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